                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                   Indianapolis Division

DEMONA FREEMAN,

                      Plaintiffs,

         v.                                      Case No. 1:18-CV-3844-TWP-MJD

OCWEN LOAN SERVICING, LLC,
et al.,

                      Defendants.



                                       ORDER

        This matter is before the Court on the Defendants’ Unopposed Motion for Brief

Continuance of Trial Date. Having considered the Motion, and for good cause shown, the Motion

is hereby GRANTED.

        IT IS HEREBY ORDERED that the current jury trial set for January 30, 2023 is

VACATED.

        IT IS FURTHER ORDERED that the jury trial is RESCHEDULED to commence on

February 13, 2023 at 9:00 a.m. in Courtroom 344, Birch Bayh Federal Building and U.S.

Courthouse, Indianapolis, Indiana.

       IT IS SO ORDERED.
         Date: 12/15/2022




 Copies to counsel of
 record electronically registered.


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